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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF GEORGIA
                                       ATLANTA DIVISION

              MANUEL MAGANA-SAGRERO,                             CRIMINAL NO.
                 Movant,                                         1:07-CR-279-38-CAP-GGB

                       v.                                       CIVIL ACTION NO.
                                                                1:11-cv-01954-CAP-GGB
              UNITED STATES OF AMERICA,
                  Respondent.                                    MOTION TO VACATE
                                                                 28 U.S.C. § 2255


                       ORDER AND FINAL REPORT AND RECOMMENDATION

                   Manuel Magana-Sagrero (“Movant”) has filed a motion to vacate sentence under

             28 U.S.C. § 2255 [Doc. 1896]. Movant seeks to challenge the constitutionality of his life

             sentence that was imposed on September 14, 2009, following a jury verdict of guilty on

             all but one count entered on April 2, 2009. [Docs. 1177, 1436]. Presently before the

             Court for consideration are: (1) Movant’s § 2255 motion to vacate [Doc. 1896]; (2) the

             United States of America’s (hereinafter “Government”) response to Movant’s motion

             to vacate [Docs. 1912 and 1914];1 and (3) Movant’s Reply [Doc. 1920].




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                    The Government’s motion for extension of time to respond to Movant’s motion
             to vacate [Doc. 1912] is hereby GRANTED nunc pro tunc.

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             I.    BACKGROUND

                   Movant was charged along with numerous other individuals with (1) conspiracy

             to possess a controlled substance (cocaine) with intent to distribute, in violation of 21

             U.S.C. §§ 841(a)(1) and 846 (Count 1); (2) possession of a firearm in furtherance of a

             drug trafficking crime in violation of 18 U.S.C. § 924(c) (Count 17); (3) possession of

             a firearm as an illegal alien in violation of 18 U.S.C. §§ 922(g)(5) and 924(a)(2)

             (Count 18); and (4) conspiracy to launder money, in violation of 18 U.S.C. § 1956(h)

             (Count 20). [Doc. 811].

                   Movant was represented by Adam M. Hames. Movant was convicted on April 2,

             2009 after a jury trial of conspiring to possess a controlled substance (cocaine) with the

             intent to distribute (Count 1), being an illegal alien in possession of a firearm (Count 18),

             and conspiracy to launder money (Count 20). [Doc. 1177]. The jury acquitted him of

             possessing a firearm in furtherance of a drug trafficking offense (Count 17).

                   On September 14, 2009, the Court sentenced Movant to the statutory mandatory

             minimum sentence of life imprisonment on Count 1; a concurrent 120-month term of

             incarceration on Count 18; and a 240-month concurrent term of incarceration on

             Count 20. [Docs. 1424, 1436]. Movant appealed, and on March 26, 2010, the United

             States Court of Appeals for the Eleventh Circuit affirmed Movant’s convictions and

             sentences. United States v. Magana-Sagrero, 371 F. App’x 18 (11th Cir. 2010); [Doc.


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             1774]. Movant timely filed the instant § 2255 motion on May 31 , 2011. [Doc. 1896].



                   Additional facts are discussed in context below.

             II.   DISCUSSION

                   Movant’s § 2255 Motion is styled as a Memorandum of Law [Doc. 1896]. In it,

             Movant alleges that his court appointed attorney, Adam M. Hames, provided ineffective

             assistance by:

             (1) failing to advise him of the consequences of a guilty verdict [Id. at 5];

             (2) failing to advise him about a plea offer by the government with an interpreter [Id.];

             (3) failing to adequately and properly challenge evidence [Id. at 7-26];

             (4) having Movant sign stipulations [Id. at 10];

             (5) advising Movant not to testify [Id. at 26-27];

             (6) failing to request a mistrial because Movant’s feet were shackled while the jury was

             in the courtroom [Id. at 30-34];

             (7) failing to challenge the money laundering and firearms counts at trial or on direct

             appeal [Id. at 34-37];

             (8) failing to have a post-trial hearing with movant [Id. at 37];

             (9) being “utterly absent” during the pretrial phase [Id. at 38]; and

             (10) failing to challenge the absence of a search warrant [Id. at 39-40].


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                   A.     Standard for Evaluating Claims of Ineffective Assistance of Counsel

                   “Ineffective assistance of counsel claims are governed by the standard set forth

             by the Supreme Court in Strickland v. Washington, 466 U.S. 668, 104 S.Ct. 2052, 80

             L.Ed.2d 674 (1984).” Green v. Nelson, 595 F.3d 1245, 1249 (11th Cir. 2010). “An

             ineffective assistance claim has two components: A petitioner must show that counsel’s

             performance was deficient, and that the deficiency prejudiced the defense.” Wiggins v.

             Smith, 539 U.S. 510, 521 (2003) (citing Strickland, 466 U.S. at 687). To establish

             deficiency, a petitioner must show that “counsel’s representation ‘fell below an objective

             standard of reasonableness.’” Wiggins, 539 U.S. at 521 (quoting Strickland, 466 U.S.

             at 688). Additionally, to establish prejudice, a petitioner must prove “a reasonable

             probability that, but for counsel’s unprofessional errors, the result of the proceeding

             would have been different.” Strickland, 466 U.S. at 694.

                   B.     Failing to Advise Movant of the Consequences of a Guilty Verdict
                          and Failing to Communicate the Government’s Ultimate Plea Offer

                   Movant argues in Grounds One and Two that counsel was ineffective in failing

             to advise him of the consequences of a guilty verdict and failing to advise him about a

             plea offer by the government with an interpreter. “[A]s a general rule, defense counsel

             has the duty to communicate formal offers from the prosecution to accept a plea on terms

             and conditions that may be favorable to the accused.” Missouri v. Frye, 132 S. Ct. 1399,



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             1408 (2012). “To show prejudice from ineffective assistance of counsel where a plea

             offer has lapsed or been rejected because of counsel’s deficient performance, defendants

             must demonstrate a reasonable probability they would have accepted the earlier plea

             offer had they been afforded effective assistance of counsel. Defendants must also

             demonstrate a reasonable probability the plea would have been entered without the

             prosecution canceling it or the trial court refusing to accept it, if they had the authority

             to exercise that discretion under state law.” Id. at 1409.

                   The unrefuted evidence shows that Movant’s attorney advised him of the

             consequences of a guilty verdict and communicated the Government’s final plea offer.

             The Government filed an affidavit by Movant’s attorney, Adam M. Hames. Attached

             to Mr. Hames’s affidavit are two letters sent by Mr. Hames to Movant before his trial.

             Each letter is in English and in Spanish. [Doc. 1914-2]. The letters clearly tell Movant

             that he is facing a life sentence without parole and that he could avoid a life sentence by

             entering a guilty plea. Movant does not dispute that he received these letters.

                   Also, Mr. Hames stated on the record just before the trial started that the

             Government had made a last minute plea offer and that he (Mr. Hames) had

             communicated that offer to Movant, but that they would be going forward with the trial.

             [Doc. 1896 at 6]. Mr. Hames states in his affidavit that he communicated the plea offer

             to Movant through the use of a Spanish-language interpreter, but that Movant rejected


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             the offer. [Doc. 1914-2 at ¶ 7]. The Government’s plea offer was to dismiss the

             § 924(c) charge and one of the prior conviction enhancements under 21 U.S.C. § 851.2

             [Doc. 1914-2, at ¶ 7].

                    Movant concedes that he was told about a plea agreement. [Doc. 1920 at 18]. In

             what appears to be a contradiction to this concession, Movant also asserts that

             Mr. Hames failed to use a Spanish interpreter in informing him of the Government’s

             final plea offer. [Doc. 1896 at 5]. As evidence of failure to use an interpreter, Movant

             cites to the fact that the interpreters for the trial were not sworn in until after his attorney

             announced that Movant had rejected the Government’s offer. [Id. at 5-6 (citing

             1344-3)]. However, the fact that the interpreters to be used at trial were not sworn until

             after Movant’s attorney reviewed the plea with him does not prove that an interpreter

             was not used in the conversation between Movant and his attorney. Trial interpreters are

             sworn in only to interpret the trial, not for private discussions between a defendant and

             his counsel.

                    Movant’s actual complaint appears to be that Mr. Hames did not provide him with

             a written plea offer for him to review. [Doc. 1920 at 17-18]. However, there is no

             evidence that there was a written version of the plea offer at the stage that it was


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                     According to the Pre-sentence Report, Movant had two prior drug felony
             convictions. This offer, if accepted, would have reduced the mandatory minimum
             sentence. See Title 21 U.S.C. §§ 841(b)(1)(A)(viii), 851.
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             communicated to Movant and his counsel. Indeed, there would be no reason for the

             Government to prepare a written plea agreement when it had received no indication from

             Movant or his attorney that Movant was interested in pleading guilty. Also, to the extent

             that Movant is complaining that he was not advised what his sentence would be under

             the proposed plea agreement, such complaint is without merit. While the plea agreement

             may have reduced the mandatory minimum sentence, it still would have been up to the

             Court to determine the sentence imposed, and neither the Government nor Movant’s

             counsel could guarantee a particular sentence.

                      Finally, Movant fails to show prejudice. He does not allege that he would have

             accepted a plea offer had it been properly discussed with him. See Coulter v. Herring,

             60 F.3d 1499, 1504 (11th Cir. 1995) (citing Hill v. Lockhart, 474 U.S. 52, 59 (1985)) (to

             prevail on § 2255 claim, defendant must show that, but for counsel's errors, he would

             have accepted guilty plea and forgone trial). For these reasons, Movant’s allegations of

             ineffective assistance in connection with the communication of the plea offer are without

             merit.

                      C.    Failure to Challenge Evidence

                      Movant complains that his counsel “failed to subject the prosecution’s case to

             meaningful adversarial testing” and that he “agree[d] to stipulate [to] all [of] the

             evidence against his client.” [Doc. 1896 at 7-10]. However Mr. Hames stipulated only


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             to non-controversial facts that the Government could readily prove. [Doc. 1344 at

             42-46]. He did not stipulate to the bulk of the Government’s evidence.

                   Movant’s main complaint in this category appears to be that Mr. Hames did not

             object to more of the Government’s evidence. However, it was Mr. Hames’s trial

             strategy to concede that the drug and money laundering conspiracies existed, but to deny

             that Movant participated in those conspiracies.       [Doc. 1914-2, Hames Aff, ¶ 5;

             Doc. 1344 at 39-40]. Given the strong evidence of a drug and money laundering

             conspiracy, and the weaker evidence of Movant’s participation, this strategy was not

             unreasonable. See Strickland, 466 U.S. at 690 (“[S]trategic choices made after thorough

             investigation of law and facts relevant to plausible options are virtually unchallengeable

             . . . .”). Thus, there was no reason for Mr. Hames to object to much of the evidence.

             Moreover, Movant has not shown any instance in which Mr. Hames failed to object to

             inadmissible evidence. Counsel is not ineffective for failing to argue a meritless issue.

             United States v. Winfield, 960 F.2d 970, 974 (11th Cir. 1992). Thus, Movant’s claim

             in Ground Three is without merit.

                   D.     Movant’s signing of stipulations

                   Movant also claims that his attorney had him sign the stipulations without

             informing him of what he was signing or the consequences of signing them. Mr. Hames

             states in his affidavit that he explained the stipulations to Movant with a Spanish-


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             language interpreter. [Doc. 1914-2, ¶ 6]. However, no hearing is necessary to resolve

             this factual issue because Movant fails to show any prejudice. Movant fails to show that

             any of the stipulated facts were untrue or that the government would have had any

             trouble proving them. Thus, this claim does not provide a basis for a finding of

             ineffective assistance of counsel.

                   E. Movant’s Failure to Testify

                   Movant suggests that it was improper for Attorney Hames to advise Movant not

             to testify. [Doc. 1896 at 26-27]. However, after the Government rested its case, the

             Court advised Movant of his right to testify and told him that it was up to him, not his

             attorney, whether to testify. [Doc. 1346 at 495-6]. Movant told the Court that he chose

             not to testify, and that his decision not to testify was his alone. [Id.]. Thus, Movant’s

             argument that his attorney gave him bad advice not to testify cannot be a basis for a

             finding of ineffective assistance of counsel.

                   F.     Failure to Request a Mistrial

                   After the morning break on the third day of Movant’s trial, the jury was brought

             into the courtroom while Movant was in leg shackles. [Doc. 1346 at 390-91]. Counsel

             immediately brought it to the Court’s attention, and the Court immediately had the jury

             leave the courtroom. [Id. at 391]. The Court stated that it did not believe that any of the

             jurors had seen Movant’s shackles and questioned whether it was even possible that the


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             jury could have seen the shackles. [Id. at 392]. Prior to the jury returning to the

             courtroom, the Court had Movant’s shackles removed. [Id.]. Attorney Hames did not

             think it was possible for a juror to see the shackles, and he did not ask for a mistrial.

             [Id.].

                      This brief incident is insufficient to show ineffective assistance of counsel. Even

             in the unlikely event that a juror had seen the leg shackles, “‘a brief and fortuitous

             encounter of the defendant in handcuffs is not prejudicial and requires an affirmative

             showing of prejudice by the defendant.’” Allen v. Montgomery, 728 F.2d 1409, 1414

             (11th Cir. 1984) (quoting Wright v. Texas, 533 F.2d 185, 187 (5th Cir. 1976)); see also

             United States v. Traeger, 289 F.3d 461, 473 (7th Cir. 2002) ("mere fact that a juror had

             a brief view of a defendant in custody is not sufficient to establish prejudice warranting

             a new trial"); cf. Deck v. Missouri, 544 U.S. 622, 635 (2005) (holding prejudice was

             assumed where court ordered defendant to be visibly shackled during trial without an

             adequate justification).

                      Applying these standards, Mr. Hames was not ineffective for failing to ask for a

             mistrial. Indeed, a request for a mistrial might have resulted in bringing attention to the

             shackles when none of the jurors had previously noticed them. Thus, Movant’s claim

             in Ground Six is without merit.




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                   G. Alleged Failure to Contest Counts 17, 18 and 20

                   Movant contends that his attorney’s failure to contest Count 17 (possession of a

             firearm in furtherance of a drug trafficking crime) and Count 18 (possession of a firearm

             by an illegal alien) constituted ineffective assistance of counsel. He also faults counsel

             for not arguing, as to Count 20, that the Government failed to show that he laundered

             “proceeds” as defined by United States v. Santos, 553U.S. 507 (2008). [Doc. 1896 at.

             35-36].

                   However, the record reflects that Mr. Hames did challenge the Government’s

             proof on Counts 17 and 18. Following the Government’s case, Mr. Hames argued that

             the Court should enter a judgment of acquittal on those charges because the Government

             failed to prove that Movant possessed the guns in furtherance of the drug offense

             (Count 17), and that the Government’s evidence was insufficient to show that the guns

             traveled in interstate commerce (Count 18). [Doc. 1346 at 489-90]. As to Count 17, the

             Court noted that the Government’s evidence was weak, but still sufficient to send to the

             jury. [Id. at 494-95]. As to Count 18, the Court also rejected counsel's interstate

             commerce argument and sent it to the jury. [Id.].

                   In his closing argument, Mr. Hames again argued against the gun charges.

             [Doc. 1347 at 536-39]. First, as to Count 17, counsel argued that “there [was] no

             evidence that either of the two weapons at issue were used in furtherance of a drug


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             conspiracy. They sat at a house.” [Id. at 536]. He noted that the guns would not have fit

             in Movant’s car, and certainly not in a manner where they could be ready to use. [Id.].

             As to Count 18, counsel argued that the guns were not “in or affecting interstate

             commerce” and thus failed to meet the elements of the offense. [Id. at 539]. The jury’s

             consideration of counsel’s argument regarding the firearms is evidenced by its acquittal

             of Movant on the § 924(c) charge (Count 17). [Doc. 1177]. Thus, Movant’s argument

             that Attorney Hames failed to challenge the firearms offenses is incorrect.

                   Movant’s contention that Mr. Hames should have argued that Movant did not

             launder “proceeds” based on the holding of United States v. Santos, 553 U.S. 507, 128

             S.Ct. 2020 (2008) is also without merit. The Eleventh Circuit has held that Santos is

             limited to the facts of an unlicensed gambling operation, and is not applicable where the

             defendant is convicted of laundering proceeds from drug trafficking. United States v.

             Demarest, 570 F.3d 1232, 1242 (11th Cir. 2009). Counsel cannot be found ineffective

             for not making an argument that does not have merit.

                   To the extent that Movant argues that his counsel was ineffective for not

             challenging the firearms and money laundering counts on appeal, Movant fails to assert

             what meritorious challenge his attorney could have made with respect to these counts.

             Thus, that argument is without merit.




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                   H.     Alleged Absence of Counsel During Pre-trial Stages and
                          Ineffectiveness for Failing to Have a Post-trial hearing and Present
                          Mitigating Evidence

                   Movant asserts that his attorney was “utterly absent” during the pre-trial stages,

             failed to conduct a post-trial hearing, and failed to investigate mitigating evidence. [Doc.

             1896 at 37-38]. However, Movant does not state what specific actions (other than those

             discussed above) his attorney should have taken that would have made a difference in

             the outcome in his case. Thus, this claim does not support a finding of ineffective

             assistance of counsel.

                   I.     Alleged Failure to Challenge the Search of Movant’s Residence

                   Movant alleges that his attorney failed to challenge the search of his home.

             [Doc. 1896 at 39-40]. This allegation is not true. Mr. Hames filed a motion to suppress

             the evidence seized from Movant’s residence. [Doc. 403]. The court held a hearing on

             this motion at which Movant and his attorney were present. [Doc. 651]. Mr. Hames

             later filed a brief in support of the motion to suppress. [Doc. 679]. When the magistrate

             judge recommended that the motion be denied, Mr. Hames filed objections to that

             recommendation. [Doc. 771]. Although the district court ultimately denied the motion,

             counsel’s handling of the suppression issue constituted effective assistance.




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             III. CERTIFICATE OF APPEALABILITY

                   According to Rule 11 of the Rules Governing Section 2255 Proceedings for the

             United States District Courts, a district court “must issue or deny a certificate of

             appealability when it enters a final order adverse to the applicant.” Under 28 U.S.C.

             §2253(c)(2), a certificate of appealability shall not issue unless “the applicant has made

             a substantial showing of the denial of a constitutional right.” A prisoner satisfies this

             standard by demonstrating that reasonable jurists would find that the district court’s

             assessment of his constitutional claims is debatable or wrong and that any dispositive

             procedural ruling by the district court is likewise debatable. See Miller-El v. Cockrell,

             537 U.S. 322, 336 (2003); Slack v. McDaniel, 529 U.S. 473, 484 (2000).

                   Movant has failed to make a substantial showing of the denial of a constitutional

             right. Accordingly, I RECOMMEND that a certificate of appealability be DENIED.

             IV. CONCLUSION

                   Based on the foregoing, I RECOMMEND that Movant’s motion to vacate

             sentence [Doc. 1896] be DENIED.

                   The Government’s motion to extend time to reply to Movant’s motion to vacate

             [Doc. 1912] is GRANTED nunc pro tunc.

                   IT IS FURTHER RECOMMENDED that a certificate of appealability be

             DENIED.

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                  The Clerk is DIRECTED to terminate the referral to me.

                  IT IS SO ORDERED AND RECOMMENDED, this 23rd day of April, 2012.




                                                GERRILYN G. BRILL
                                                UNITED STATES MAGISTRATE JUDGE




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